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             Ar~°~r~'F°R f"~J: a es V. Ko n tt
                                     PEdPLE OF TFfE STATE OF CAUFOf2NIA
                                                    vs
      DEFENDANT:
                                              MELVEN HUGHES



                                                                                                                  ease r   Eus:
                              CERTIFICATE QF tDENTIT'Y THEFT: JUDICIAL                                                             7A~ CK~x~
                                  FINDING QF FACTUAL 11dNOCENCE                                                   '~7-~~-~~~~~`
                                         (Renal Code § 530.6}                                                     ~ ~ -/C ✓ • ~ ~}S L ~',j~ ~ ~ ~.SX~


                   Warrant No. (if any}:                                                       ~olatiQn Date: 0713Ql2Q21

            PetitiQrter tnformatian:
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            Rtame: ~ur~es.me(vin louis
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             BOOICERs NQ.:                                      D~ive~'s License or Identification No.:

             OEher Iderttif~ring lrsfarrnation:      passport # 67Qt78417


     2.    The court finds that:
                 Another person v as arrested for ar convicted of a crime under the identity of the petitioner in this case.
                                                                                                                     in this case.
           [~ The petitioner's identity has been mistaicertfy assocsated wifh a record of tt~e criminal conviction
           (~ The petitiarter is naf the person #or whom the   warrant in this case ~rras issued.
                                                                                                                     e cause to believe that the
            Accordingty, the court finds that me petttian is meritorious and that there is na reasonabl
                                                                                          tactually innocent   of  that offense.
            petitlaner committed the oi~ense to this case, and that the petitioner is


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          C riminal Investigation             A ugust 8, 2023



          Melvin Hughes
          23301 W. Pompano Street
          Malibu, CA 91710


          I n RE: Forfeited Property

          Dear Mr Hughes
                                                                                       forfeited to
     The property located at 23301 West Pompano Street in Malibu, California was
                                                                           United  States  of
     the United States on July 13, 2023 in case number 17-cv-04569,
                                                                                      States District
     America v. Real Property Located in Malibu, California, filed in the United
                                                                         Judgme nt of Forfeit ure is
     Court for the Central District of California. A copy of the Default
     attached for your reference.
                                                                                disposition of this
     Please call me at(657) 247-3388 so we can discuss a resolution to the
     property.

                                                        Sincerely,


                                                          ~~                ,,,►

                                                         Bryan Starek
                                                         Special Agent -Asset Forfeiture Coordinator
                                                         IRS -Criminal Investigation
                                                         Los Angeles Field Office

              Enclosure: Default Judgement of Forfeiture, filed July 13, 2023
                Case 2:21-cv-04569-JAK-KS                        Document 42 Filed 10/03/23                          Page 4 of 4 Page ID
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                                        GERTlFfCATIQN QF BENEFfC[AL aWNER(S}
               The inforrnatlon contained in this CerC~caUan is soughs pursuant to Section 9020.230
                  o~ TJtfe 31 ofthe Urrfted States Code ofFederal Regcr/aifans(37 CFR 9Q20.23Q~.
         All persons opening an account on behalf of a legal entity must provide the following information:

         1. Last Name and title of Natural Person opening Account                   (2. First Name                                  ~ 3. Middle tnitiai
        huges                                                                       ; melvin

         4. Name artd type of Legal Entity far UVhich the Aceaut~f is Being Opened
        MELVIN LC}UIS HfJGES
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        Please provide the following information for an individuals}, if any, wrho, directly or indirectly, through
                                                                                          the  equity  interests of the legal entity listed
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                Check here ~ if no individual meets this definition and           complet    e Section    tt.

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          entity, including, an executive officer ar senior manager (e.g., Chief
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          Operating officer, Managing Member, General Partner, President,
          who regularly performs similar functions.              _._..T~.__ _. _ _ _ _. _. . _ _. -
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          I~huges,melvin louts               (nurrte vfpersan opening accQunF), hereby certify, to the
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